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                 United States Court of Appeals
                           FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                    ____________

No. 23-1050                                               September Term, 2024
                                                                            USTC-5191-20
                                                     Filed On: October 2, 2024
Cory H. Smith,

             Appellant

      v.

Commissioner of Internal Revenue,

             Appellee


      BEFORE:       Pillard and Walker, Circuit Judges; and Ginsburg, Senior Circuit
                    Judge

                                       ORDER

      Upon reconsideration of the motion for voluntary dismissal of No. 23-1050, the
response thereto, and the reasons stated below, it is

      ORDERED that the order denying the appellant’s motion to dismiss the appeal be
vacated. It is

      FURTHER ORDERED that No. 23-1050 be dismissed. See FED. R. APP. P. 42(b).

       Cory H. Smith appealed pro se from a Tax Court decision granting summary
judgment to the Commissioner of Internal Revenue on a notice of deficiency. Smith
disputed the IRS’s taxing as income the value of housing his U.S. employer provided free
of charge during Smith’s employment at the Joint Defense Facility at Pine Gap in Alice
Springs, Australia (Pine Gap), and he pressed various novel challenges to tax closing
agreements he entered with the IRS regarding salary he earned in Australia. His closing
agreements were based on a standard form the IRS developed in light of longstanding


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treaties between the United States and Australia that apparently allow income of workers
in Smith’s situation to be taxed by both countries; a U.S. national may enter such a closing
agreement to ensure that income he earns for work in Australia is subject to taxation in
one country, but not both. For several decades, the IRS and U.S. citizens working at Pine
Gap have successfully used such closing agreements to ensure the Australian-earned
income is subject to taxation only in the United States and not also in Australia.

        Beginning in 2018, however, some U.S. taxpayers began filing tax returns or
amended tax returns purporting to claim U.S. income tax exclusions—meant to offset the
effect of foreign taxation—that they had waived in their closing agreements. If valid, those
exclusions would largely exempt the income from taxation in both the United States and
Australia. The IRS deemed the exclusions unavailable due to the closing agreements. It
accordingly issued notices of deficiency to Smith and about two dozen other Pine Gap
employee-taxpayers claiming exclusions they had waived in closing agreements.

       This case is the first of those challenges to reach this court on appeal from the Tax
Court, which sustained taxation of the value of the employer-provided housing, enforced
Smith’s closing agreements, and denied his petition for redetermination of the
deficiencies. Several other cases currently before the Tax Court raise identical issues.
In view of Smith’s pro se status, we appointed amicus to help with briefing. 1

       On July 7, 2024, after the close of briefing, Smith filed a one-sentence motion to
voluntarily withdraw his appeal. The motion did not explain why he sought dismissal. The
IRS opposed the motion, and we denied it.

        At oral argument, newly retained counsel appeared for Smith to explain that he
disavows all positions advanced in his briefing and renews his request for leave to dismiss
the appeal. Counsel confirmed that the positions argued in Smith’s briefing, which are
also advanced in several cases pending before the Tax Court, were proposed to Smith
by John Anthony Castro, a tax preparer recently convicted of 33 counts of federal tax
fraud. Press Release, Mansfield Tax Preparer Convicted of 33 Counts of Tax Fraud After
Bench Trial, U.S. ATT’Y OFF., N.D. TEX. (May 24, 2024), https://www.justice.gov/usao-
ndtx/pr/mansfield-tax-preparer-convicted-33-counts-tax-fraud-after-bench-trial       (noting
that the defendant marketed himself to U.S. taxpayers around the world, including by
“claiming to be an expert on certain tax issues related to Australian ex-pats,” and advised
clients to take nonexistent exclusions based on his interpretation of tax treaties between
the United States and Australia).


1
 The court thanks court-appointed amici curiae, Samir Deger-Sen, Ben Harris, and Nikita
Kansra of Latham & Watkins for submitting a brief amicus curiae, and Mr. Harris and Ms.
Kansra for appearing before us. We are grateful for their excellent service to the court.

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       In view of counsel’s representations on the record, we have no basis to doubt the
genuineness of Smith’s decision to permanently abandon his appeal in its entirety.
Counsel represented that Smith no longer believes that the positions Castro urged on him
are legally sound, and he initially hesitated to dismiss the appeal only because he thought
he was obligated to pursue it under his agreement to pay Castro half of the anticipated
refund. Smith’s counsel also clarified that the IRS has succeeded in recovering or
retaining the taxes as to which Smith had claimed refunds and that he has paid all
associated interest and penalties. We see no suggestion of manipulation or other misuse
of voluntary dismissal. Cf. Alvarado v. Corp. Cleaning Servs., Inc., 782 F.3d 365, 372-73
(7th Cir. 2015) (denying a motion to dismiss an appeal where there was a strong inference
that plaintiffs were engaged in “strategic behavior” to avoid an adverse ruling).

        The inescapable consequence of Smith’s abandonment of his appeal is that there
is no longer any active case or controversy for us to adjudicate. “[T]here is no Art. III case
or controversy when the parties desire precisely the same result.” GTE Sylvania, Inc. v.
Consumers Union of U.S., Inc., 445 U.S. 375, 383 (1980) (internal quotation marks
omitted). Accordingly, we vacate our previous order denying Smith’s motion to dismiss
his appeal and, upon reconsideration, grant the motion.

        Pursuant to D.C. Circuit Rule 36, this disposition will not be published. The Clerk
is directed to withhold issuance of the mandate herein until seven days after resolution of
any timely petition for rehearing or petition for rehearing en banc. See FED. R. APP. P.
41(b); D.C. CIR. R. 41(a)(1).

                                        Per Curiam


                                                         FOR THE COURT:
                                                         Mark J. Langer, Clerk

                                                   BY:   /s/
                                                         Daniel J. Reidy
                                                         Deputy Clerk




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